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 9   UNITED STATES OF AMERICA

10
                            UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
     UNITED STATES OF AMERICA,              No. 14-MJ-189-DUTY
13
               Plaintiff,                   NOTICE OF LODGING OF [PROPOSED]
14                                          ORDER FOR DISMISSAL OF
                     v.                     MAGISTRATE’S COMPLAINT
15
     LASHAWN ANDREA LYNCH,
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               Defendant.
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 1        Plaintiff United States of America, by and through its counsel

 2   of record, Assistant United States Attorney Ryan H. Weinstein,

 3   hereby lodges the attached [Proposed] Order for Dismissal of

 4   Magistrate’s Complaint in the above-referenced case.

 5

 6   Dated: June 10, 2014               Respectfully submitted,

 7                                      ANDRÉ BIROTTE JR.
                                        United States Attorney
 8
                                        ROBERT E. DUGDALE
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10

11                                            /s/
                                        RYAN H. WEINSTEIN
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